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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 Belinda Wheeler, individually and on           §
 Behalf of all others similarly situated,       §
                                                §
         Plaintiff,                             §                             Case No. 1:22cv763
                                                §
 v.                                             §                        Class Action Complaint
                                                §
 Panini America, Inc.,                          §                          Jury Trial Demanded
                                                §
         Defendant.                             §

                  DECLARATION OF CHASE T. COBB IN SUPPORT OF
                      MOTION FOR PRO HAC VICE ADMISSION



       I, Chase T. Cobb, declare:
       1.      My full name is Chase Tyler Cobb.
       2.      My office is located at 2200 Ross Ave., Suite 2800, Dallas, TX 75201. My office
telephone number is (214) 740-8000.
       3.      I am an attorney at law licensed to practice in the State of Texas (Texas Bar No.
24116208) and am admitted to the State Bar of Texas, the United States District Court for the
Northern District of Texas, and the United States District Court for the Eastern District of Texas.
       4.      I have not been disciplined by any bar.
       5.      I have not been admitted pro hac vice in this Court within the last two years.
       6.      I do not engage in the practice of law from any office located in the District of
Columbia, am not a member of the District of Columbia Bar, and do not have an application for
membership pending with the District of Columbia Bar.
       7.      A true and correct copy of a Certificate of Standing dated June 8, 2022 providing
that I am a member in good standing of the State Bar of Texas is attached hereto as Exhibit 1.
       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct and that this declaration was executed on June 8, 2022.



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                                              Respectfully submitted


                                              Cha J ---eolgr
                                                 exas Bar No. 24116208
                                               chase. cobb@lockelord. corn
                                              LOCKE LORD LLP
                                              2200 Ross Avenue, Suite 2800
                                              Dallas, Texas 75201
                                              (214) 740-8000 (Telephone)
                                              (214) 740-8800 (Facsimile)

                                              ATTORNEY FOR DEFENDANT
                                              PANINI AMERICA, INC.




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2022, I electronically filed the foregoing with the Clerk of

the District Court using the CM/ECF system, which sent notification of such filing to all counsel

of record.


                                              /s/ Toyja E. Kelley
                                              Toyja E. Kelley




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               EXHIBIT 1
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                              The Supreme Court of Texas
                                                         AUSTIN
                                                   CLERK'S OFFICE




            I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
    records of this office show that

                                                     Chase Cobb

    was duly admitted and licensed as an attorney and counselor at law by the Supreme

    Court of Texas on the 25th day of October, 2019.

            I further certify that the records of this office show that, as of this date



                                                     Chase Cobb



    is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                    IN TESTIMONY WHEREOF witness my signature

                                                                   and the seal of the Supreme Court of

                                                                   Texas at the City of Austin, this, the

                                                                   8th day of June, 2022.

                                                                   BLAKE HAWTHORNE, Clerk



                                                                   Clerk, Supreme Court of Texas
    No. 9063C.1




This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
